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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
ALBANY DIVISION


DOREEN BANNEN                       )             Case No. _____________________
                                    )
                  Plaintiff,        )
                                    )
      vs.                           )                        COMPLAINT
                                    )
ALLIANCEONE RECEIVABLES             )                        Jury Trial Demanded
MANAGEMENT, INC.                    )
                                    )
                  Defendant.        )
____________________________________)

        PLAINTIFF, Doreen Bannen (“Plaintiff”), by and through the undersigned

attorney, files this Complaint against DEFENDANT, AllianceOne Receivables

Management, Inc. (“Defendant”), and alleges as follows:

                                I. INTRODUCTION

   1.      This is an action for damages brought by an individual consumer for

           Defendant’s violations of the following provisions, resulting from abusive

           behavior against Plaintiff in the course of Defendant’s attempt to collect a

           debt:

           (1) The Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq.

               (hereinafter “FDCPA”).

                                 II. JURISDICTION

   2.      The FDCPA claim arises under 15 U.S.C. § 1692k(d), and therefore involves

           a “federal question” pursuant to 28 USC § 1331.




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                               III. PARTIES

3.   Plaintiff, Doreen Bannen (“Plaintiff”), is a natural person residing in Ulster

     County, New York.

4.   Defendant, AllianceOne Receivables Management, Inc., (“Defendant”) is a

     corporation engaged in the business of collecting debts by use of the mails and

     telephone, and Defendant regularly attempts to collect debts alleged to be due

     another.

                     IV. FACTUAL ALLEGATIONS

5.   Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §

     1692a(6).

6.   Plaintiff is a “consumer” as defined by the FDCPA, 15 U.S.C. § 1692a(3).

7.   All activities of Defendant set out herein were undertaken in connection with

     the collection of a “debt,” as defined by 15 USC § 1692a(5).

8.   Within the last year, Defendant contacted Plaintiff by telephone in an attempt

     to collect an alleged outstanding debt. During that telephone conversation,

     Defendant performed the following acts, which amount to violations under

     various federal and state laws:

             i. Engaging in conduct the natural consequence of which is to harass,

                 oppress, or abuse Plaintiff, including Defendant continually and

                 repeatedly contacting Plaintiff over the course of one year, and up

                 to as recently as March 5, 2010, for an alleged debt belonging to

                 another individual unknown to Plaintiff named Doreen Bruno and




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                 refusing to stop contacting Plaintiff in response to her repeated

                 requests for Defendant to cease all communication (§ 1692d));

             ii. Failing to disclose both the callers individual identity and the

                 Defendants corporate address in a telephone call to Plaintiff,

                 including the Defendants collection agent refusing to provide both

                 her name and Alliance Ones corporate address to Plaintiff in a

                 March 5, 2010 telephone call which resulted in the Defendant

                 refusing to answer Plaintiffs questions and hanging up on her (§

                 1692d(6)).

9.    As a result of the aforementioned violations, Plaintiff suffered and continues

      to suffer injuries to Plaintiff’s feelings, personal humiliation, embarrassment,

      mental anguish and severe emotional distress.

10.   Defendant intended to cause, by means of the actions detailed above, injuries

      to Plaintiff’s feelings, personal humiliation, embarrassment, mental anguish

      and severe emotional distress.

11.   Defendant’s action, detailed above, was undertaken with extraordinary

      disregard of, or indifference to, known or highly probable risks to purported

      debtors.

12.   Defendant’s    actions,   detailed   above,     constituted   an   extraordinary

      transgression of the bounds of socially tolerable conduct

13.   To the extent Defendant’s actions, detailed above, were carried out by an

      employee of Defendant, that employee was acting within the scope of his or

      her employment.



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                               PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

Defendant for the following:

       A.     Declaratory judgment that Defendant’s conduct violated the FDCPA;
       B.     Actual damages pursuant to 15 USC 1692k;
       C.     Statutory damages pursuant to 15 U.S.C. § 1692k;
       D.     Costs, disbursements and reasonable attorney’s fees for all successful
              claims, and any unsuccessful claims arising out of the same transaction or
              occurrence as the successful claims, pursuant to 15 U.S.C. § 1692k; and,
       E.     For such other and further relief as may be just and proper.

                                           This 21st day of April, 2010.

                                           ATTORNEYS FOR PLAINTIFF
                                           Doreen Bannen

                                           Respectfully submitted,

                                           s/Dennis R. Kurz
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